Case 24-04010 Doci1 Filed 03/06/24
Document

B1040 (FORM 1040) (12/15)

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ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
_ (Instructions on Reverse) (Court Use Only)
PLAINTIFFS Steven Weiss, Chapter 7 Trustee DEFEND ANTS

Jeanne D'Arc Credit Union

ATTORNEYS. Fig Name, Address, and Telephone No.)

Steven Weiss, BBO#545619
Shatz, Schwartz and Fentin, P.C., 1441 Main St, Suite 1100
Springfield, MA 01103 413-737-1131

ATTORNEYS (If Known)

PARTY (Check One Box Only)

a Debtor o U.S. Trustee/Bankruptcy Admin
o Creditor o Other
ctx Trustee

PARTY (Check One Box Only)

O Debtor 0 U.S. Trustee/Bankruptcy Admin
x Creditor O Other
0 Trustee

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
This is an adversary proceeding brought by Steven Weiss, Chapter 7 Trustee (the “Trustee”) seeking to recover fraudulent transfers made by the Debtor, Top Line Granite
Design, Inc. (‘Top Line”), to Jeanne D’ Arc Credit Union (‘JDCU”) pursuant to 11 U.S.C. 8§ 548, 550, and M.G.L. ch. 109A.

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001{1) - Recovery of Money/Property

11-Recovery of money/property - §542 tumover of property

12-Recovery of money/property - §547 preference

13-Recovery of money/property - §548 fraudulent transfer
C 14-Recovery of money/property - other

FRBP 7001(2) — Validity, Priority or Extent of Lien
L] 21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001 (6) - Dischargeability
66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
62-Dischargeability - §523(a}(2), false pretenses, false representation,
actual fraud
O 67-Dischargeability - §523(a\(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)
61-Dischargeability - §523(a)(5), domestic support
OJ 68-Dischargeability - §523(a)(6), willful and malicious injury
O 63-Dischargeability - §523(a}(8), student loan
Oo 64-Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)
O 65-Dischargeability - other

FRBP 7001(7) — Injunctive Relief
7\-Injunctive relief — imposition of stay
72-Injunctive relief - other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other
C1 ss-SIPA Case — 15 U.S.C. §§78aaa et.seq.
02-Cther (c.g. other actions that would have been brought in state court

if unrelated to bankruptcy case) M.G.L. ch. 109A

O Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

a Check if a jury trial is demanded in complaint

Demand $ 334,845.79

Other Relief Sought

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B1040 (FORM 1040) (12/15)

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR BANKRUPTCY CASE NO.
Top Line Granite Design, Inc. 22-40216
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Massachusetts Central Worcester Elizabeth D. Katz
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY (OR PLAINTIFF)
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)

Steven Weiss, Esquire

YY, vith Lb 2D Y Mark J. Esposito, Esquire
7
a

INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. Ifthe plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MASSACHUSETTS

CENTRAL DIVISION
)
In re )
) Chapter 7
TOP LINE GRANITE DESIGN, INC., ) Case No. 22-40216-EDK
Debtor )
)
)
STEVEN WEISS, Chapter 7 Trustee, )
Plaintiff )
)
V. ) Adversary Proceeding No. 24-_
)
JEANNE D’ARC )
CREDIT UNION, )
)
Defendant )
)
COMPLAINT
Introduction
1. This is an adversary proceeding brought by Steven Weiss, Chapter 7 Trustee (the

“Trustee”) seeking to recover fraudulent transfers made by the Debtor, Top Line Granite Design,
Inc. (“Top Line”), to Jeanne D’Arc Credit Union (“JDCU”) pursuant to 11 U.S.C. §§ 548, 550,
and M.G.L. ch. 109A.
Parties

2. The Trustee is an individual practicing law with Shatz, Schwartz and Fentin, P.C.,
with a business address of 144] Main Street, Suite 1100, Springfield, Massachusetts, 01103.

3. The Defendant Jeanne D’Arc Credit Union is a state-chartered credit union
organized under the laws of the Commonwealth of Massachusetts, with a business address of 658

Merrimack Street, Lowell, MA 01854.
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Jurisdiction and Venue

4, This Court has jurisdiction over the core proceeding set forth in Count I pursuant
to 28 U.S.C. § 157(b)(2)(H).

5. This Court has jurisdiction over the non-core proceeding set forth in Count II
pursuant to 28 U.S.C. § 1334(b).

6. Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408-1409.

Facts

7. On March 25, 2022 (the “Petition Date”), Top Line filed a petition for relief under
Chapter 11 as a Subchapter V debtor.

8. On June 29, 2023, the case was converted to a case under Chapter 7, and the
Plaintiff was appointed as Chapter 7 Trustee.

9. At all times relevant hereto, the sole shareholder and President of the Debtor was
Edmilson Ramos (“Ramos”).

10.‘ At all times relevant hereto, Ramos resided at 290 Massapoag Road,
Tyngsborough, Massachusetts (the “Residence”’).

11. On or about November 25, 2019, Ramos, personally, executed and delivered a
promissory note in the original amount of $1,872,500.00 (the “Note’”’) to JDCU.

12. On information and belief, none of the proceeds from the Note were received by
Top Line.

13. As security for payment of the Note, Ramos granted JDCU a first mortgage on his
Residence.

14. The Debtor Top Line neither co-signed the Note nor guaranteed Ramos’ payment

of the Note.
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15. | Despite that, Ramos caused Top Line to make payments of his personal obligations
under the Note to JDCU.

16. Based upon information received from JDCU, between December 1, 2019, and the
Petition Date, JDCU received payments from Top Line in the aggregate amount of $334,845.79
(collectively, the “Transfers”).

COUNT I
AVOIDANCE OF FRAUDULENT TRANSFERS

PURSUANT TO M.G.L. Ch. 109A

17. Paragraphs | through 16 are restated herein and incorporated by reference.

18. Top Line was not obligated to JDCU for payment of the Note or any other
obligation.

19. Top Line did not receive reasonably equivalent value in exchange for the Transfers.

20. At all times relevant hereto, Top Line was engaged in or about to engage in
business or transactions for which its remaining assets were unreasonably small in relation to such
business or transactions.

21. At the time the Transfers were made, Ramos knew or should have known that Top
Line had incurred or would incur debts beyond its ability to pay as they became due.

22. At the time the Transfers were made, Top Line was insolvent, or became insolvent
as a result of the Transfers.

23. The Transfers referred to JDCU constitute fraudulent transfers within the meaning
of M.G.L. Ch. 109A, § 5 and 6.

24. Pursuant to 11 U.S.C. § 544, the Trustee may void such transfers as fraudulent

transfers,
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25. The Trustee therefor requests that judgment be entered against JDCU in the amount
of $334,845.79, plus interest and costs.
COUNT II
AVOIDANCE OF TRANSFERS PURSUANT TO

11 U.S.C. § 548

26. Paragraphs 1 through 25 are restated herein and incorporated by reference.

27. Top Line did not receive reasonably equivalent value in exchange for the Transfers.

28. At all times relevant hereto, Top Line was engaged in or about to engage in
business or transactions for which its remaining assets were unreasonably small in relation to such
business or transactions.

29. At the time the Transfers were made, Ramos knew or should have known that Top
Line had incurred or would incur debts beyond its ability to pay as they became due.

30. At the time the Transfers were made, Top Line was insolvent, or became insolvent
as a result of the transfers.

31. The Transfers to JDCU constitute fraudulent transfers within the meaning of 11
US.C. § 548.

32. Pursuant to 11 U.S.C. § 548, the Trustee may void those Transfers made within two
(2) years before the Petition Date as fraudulent transfers.

33. In the two years before the Petition Date, the Debtor made Transfers to JDCU in
the aggregate amount of $171,698.70.

34. The Trustee therefor requests that judgment be entered against JDCU in the amount

of $171,698.70, plus interest and costs.
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WHEREFORE, the Trustee respectfully requests that this Honorable Court:

1. On Count I, enter an order determining that the Transfers from Top Line to
Jeanne D’Arc Credit Union constitute fraudulent transfers pursuant to 11
U.S.C. § 544 and G.L. Ch. 109A, and enter judgment against Jeanne D’ Arc
Credit Union in the amount of Three Hundred Thirty-Four Thousand Eight
Hundred Forty-Nine and 73/100 Dollars ($334,849.73), plus interest and
costs;

2. On Count II, enter an order determining that the Transfers from Top Line
to Jeanne D’ Arc Credit Union constitute fraudulent transfers pursuant to 11
UIS.C. § 544 and G.L. Ch. 109A, and enter judgment against Jeanne d’ Arc
Credit Union in the amount of One Hundred Seventy One Thousand Six
Hundred Ninety Eight and 70/100 Dollars ($171,698.70), plus interest and
costs; and

3. Grant such further relief as this Court deems just and proper.

Respectfully submitted,

For the Plaintiff,

STEVEN WEISS, TRUSTE
By his attorneys,

Steven Weiss, BBO # 545619
Mark J. Esposito, BBO # 672638
Shatz, Schwartz and Fentin, P.C.
1441 Main Street, Suite 1100
Springfield, MA 01103

(413) 737-1131

(413) 736-0375 (f)
sweiss@ssfpc.com

mesposito@ssfpc.com
Dated: March 6, 2024

22\013 AAvoidance Claims\Complaint - Jeanne D’Arc\Complaint.1602
